AO 91 (Rev. 11/82)

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CRIMINAL COMPLAINT tte heads |
UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA DOCKET NO. ge
MICHAEL STONE and MAGISTRATE’S CASE NO.
ARTUR BITARYAN

FILED

CLERIC US. DISTRICT COURT__

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Complaint for violation of Title 18, United States Code, Sections 1349 4 1O28A
“CENTRAL DISTRICT OF CALIFURWIA
IT DEPUTY
NAME OF MAGISTRATE JUDGE LOCATION
. . UNITED STATES a
Honorable Jacqueline Chooljian MAGISTRATE JUDGE | Ls Angeles, California
DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)
Continuing through the Los Angeles County
present

COMPLAINANT’S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

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BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED:

See Attachment

MATERIAL WITNESSES IN RELATION TO THIS CHARGE; N/A

(See attached affidavit which is incorporated as part of this Complaint)

Being duly sworn, I declare that the

SIGNATURE OF COMPLAINANT

foregoing is true and correct to the best

Stephen Collett / 5 /
of my knowledge.

OFFICIAL TITLE

Simi Valley Police Detective
Sworn to before me and subscribed in my presence,

SIGNATURE OF MAGISTRATE JUDGE”

OY See Federal Rules of Criminal Procedure 3 and 54

SA Andrew Brown, 11" floor, x0102 REC: Detention

JACQUELINE CHOOLIIAN

DATE

March 12, 2015

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Attachment

Count One (18 U.S.C. § 1349)

Beginning in or before 2013, and continuing through on or about March 12, 2015, in Los
Angeles County, within the Central District of California, and elsewhere, defendants MICHAEL
STONE, aka Kazaros Bitatyan, and ARTUR BITARYAN (collectively, “Defendants”), together
with others known and unknown to the United States Attorney, conspired to commit bank fraud,
in violation of Title 18, United States Code, Section 1344. The object of the conspiracy was
carried out, and to be carried out, in substance, as follows: Defendants and their co-conspirators
would build and install skimming devices in gas station pumps and elsewhere to record the bank-
issued debit and credit card information of consumers, manufacture counterfeit debit and credit
cards, and use them to make fraudulent purchases and withdraw money in the names of the
victims of identity theft. Federally insured financial institutions which were defrauded, or to be
defrauded, through this conspiracy include Wells Fargo Bank, Chase Bank, Bank of America,
Bank of the West, USAA Federal Savings Bank, Citibank, FirstBank, US Bank, Capital One

Bank and Compass Bank, among others.

Count Two (18 U.S.C. § 1028A)

Beginning in or before 2013, and continuing through on or about March 12, 2015, in Los
Angeles County, within the Central District of California, and elsewhere, defendants MICHAEL
STONE, aka Kazaros Bitaryan, and ARTUR BITARYAN knowingly transferred, possessed, and
used, without lawful authority, a means of identification of another person during and in relation
to a felony violation of Title 18, United States Code, Section 1349, Conspiracy to Commit Bank
Fraud, as charged in Count One.

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AFFIDAVIT

INTRODUCTION

I, Stephen Collett, being duly sworn, hereby depose and state:

I am a sworn Police Officer with the Simi Valley Police Department (““SVPD”). My
current title is, Detective, and I am assigned to the Property Crimes section of the Detective
Bureau. I have been a Police Officer since 1995 and have been employed with the Simi Valley
Police Department since November of 1999. Prior to my employment with the Simi Valley
Police Department, I worked as a Reserve Police Officer for the Port Hueneme Police
Department from 1995 to 1997. Between 1997 and 1999, I worked as a full time Police Officer
for the Port Hueneme Police Department. As a Police Officer, 1 have worked a variety of
assignments which include; Traffic Officer, Senior Officer / Field Training Officer and
Detective. I have completed the Ventura County Reserve Police Officer Academy and the Rio
Hondo Police Academy. This training included several hours of training in Crimes Against
Property including but not limited to burglary, theft, grand theft, possession of stolen property,
fraud and arson. During my career, I have been the “Handling Officer” at over 6000 calls for

service and have completed over 400 investigations involving Crimes Against Property with over

100 of these resulting in arrests. During the past 19 years, I have also assisted with thousands of

- crimes in progress. During these calls I gained firsthand experience with suspects and how they

commit their crimes and I am thoroughly familiar with the manner in which Crimes Against

Property and Fraud are committed.

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I have also completed 40 hours of training in respect to interviews and interrogations, 30
hours of Street Crimes and Field Investigations and I am a graduate of the Robert Presley

Institute of Criminal Investigation, two-week core course.

PURPOSE OF AFFIDAVIT

This affidavit is made in support of a criminal complaint and arrest warrant for suspects
ARTUR BITARYAN (“BITARYAN”) and MICHAEL STONE, aka Kazaros Bitaryan
(“STONE”), for violation of Title 18, United States Code, Section 1349 and 1028A, conspiracy
to commit bank fraud and aggravated identity theft. As set forth in more detail below, the
investigation revealed that STONE manufactured skimming devices which were installed
surreptitiously in gas pumps to record the information encoded on consumers’ access devices, as
well as their manually entered PIN or zip code, which was then used to counterfeit access
devices which BITARYAN used to make fraudulent purchases. The earliest losses I have found
so far that are linked to this conspiracy are from 2013, and the losses continued at least through
January 2015, the last month for which I have bank records.

The facts set forth in this affidavit are based upon my personal observations, review of
documents provided by financial institutions, my training and experience, and information
obtained from witnesses and other law enforcement officers. This affidavit is intended to show
that there is sufficient probable cause for the requested complaint and arrest warrant and does not

purport to set forth all of my knowledge of or investigation into this matter.

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PROBABLE CAUSE

BITARYAN Tries to Flee After Being Caught Using a Counterfeit Access Devices

On Saturday January 4, 2014, I (Detective Stephen Collett) was called in to assist with a
Fraud investigation that stemmed from an arrest earlier in the day, which occurred at a local
restaurant. On that date, Simi Valley Police Officers, Christopher Herbst and Robert Yoraway
responded to the Rock n Roll Café located at 2196 Tapo St. in Simi Valley, CA. During their
investigation an individual was arrested. for Identity Theft among other charges for his part in the
fraudulent activity reported by the business owner. The facts contained herein are based on those,
which were outlined in Officer Yoraway’s arrest and crime report, which I have since personally
reviewed. I also discussed the details of this investigation with him on the date it occurred, which

resulted in additional follow-up that was conducted by me.

On January 4, 2014 at approximately 1343 hours, Officers Yoraway and Herbst
responded to the listed Rock-n-Roll Café for a fraud that was reportedly in progress. When the
officers arrived, they contacted the two subjects that were determined to be the suspects and
source of the call. While contacting them, Officer Yoraway asked them how they paid for their
meal at which time one of them (who was later identified as ARTUR BITARYAN) stood up,
pulled a credit card out of his wallet, and handed it to Officer Yoraway. The Visa credit card was

embossed with the number 4373-0900-0550-8876 and did not have a name on it.

As Officer Yoraway continued with his investigation, he had Officer Herbst remain with
the two suspects while he went inside to speak with the reporting party and owner of the

restaurant who was identified as James Treichler. At that time, Treichler identified BITARYAN -

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as the person who purchased the meal with the credit card in question. When the purchase for
$21.05 was made, Treichler swiped the card through his card reader and the transaction was
approved, but reflected it charged an account bearing the last four numbers of 4332, which did
not match those embossed on the card. Furthermore, the name listed on the account was "Pimm /
Linda."
BITARYAN Tries to Hide Additional Counterfeit Access Devices

While speaking with Treichler, Officer Yoraway continued to watch Officer Herbst and
the two subjects through the restaurant's window at which time he observed BITARYAN crouch
down, shove an unknown item underneath his table's leg, and then sit back down. Officer Herbst
related later to Officer Yoraway that the item was a cigarette pack. Eventually, during Officer
Yoraway’s investigation, he proceeded to pat BITARYAN down whereupon he (BITARYAN)
resisted and attempted to flee. After struggling with the officers, BITARYAN was subdued and
taken into custody. As this occurred, the other individual who accompanied BITARYAN

eventually fled the area while on foot and was never properly identified.

Once BITARYAN was safely taken into custody, Officer Yoraway searched him and
found a wallet in his pants pocket, which contained a Nevada driver’s license bearing his
(BITARYAN’s) photo, but had the name listed as Alex Bristols, which I later learned was
counterfeit. The wallet also contained two Chase Bank Visa credit cards bearing the name of
Alex L. Bristols and three NetSpend generic Visa credit cards with no name on them.

BITARYAN was also found to be in possession of the receipt from the Rock-n-Roll café for his

food purchase.

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Later, during the scene investigation, Officer Yoraway recovered the Marlboro Cigarette
pack, which was the item placed under the table by BITARYAN where he was seated during the
initial contact. Upon examining the contents of the Marlboro Cigarette pack, Officer Yoraway
discovered that it contained 16 credit cards. Among those cards were two Chase Visa credit cards
bearing the name, Alex L Bristols, five PayPal MasterCards, two Western Union MasterCards,

three NetSpend Visa cards, one MyVanilla Visa card and three RushCard Visa Debit cards.

I have since examined all of the credit cards that BITARYAN had in his possession,
which totaled 22 in all, and I verified that they are all counterfeit cards with different numbers
encoded within their magnetic strips. In doing so, I ran the cards through a magnetic strip. reader
that is connected to my department issued work computer where I was able to obtain the
information. I also researched the BIN numbers of each account (first six digits of the account
numbers) via law enforcement databases and identified the respective banks that they belong to,
which included many Federally Insured financial institutions such as, Wells Fargo Bank, Chase
Bank, Bank of America, Bank of the West, USAA Federal Savings Bank, Citibank, FirstBank,
US Bank and Compass Bank. Since I have made this discovery, I have been in contact with
several investigators and/ or account holders with some of the noted financial institutions and

verified that ARTUR BITARYAN was not an authorized user to any of the accounts.

A Rental Vehicle Used by Both BITARYAN and STONE Is
Used in Alien Smuggling and Access Device Skimming

On the morning of February 5, 2014, I visited ARTUR BITARYAN’s residence located
at 1164 Katherine Rd. in Simi Valley, CA and noted that a dark colored Chrysler Town &

Country minivan, bearing the CA license plate, “6ZVM415” was parked in a makeshift driveway

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located at the south westernmost portion of the property. I subsequently learned this is a rental

vehicle rented not in the name of either BITARYAN or STONE.

During the course of my investigation, I installed a GPS tracking device to the described
Town and Country minivan, which was done pursuant to a lawfully obtained search warrant.
While monitoring the data obtained from the tracking device for the duration it was attached, I
noted that on separate dates and times, it visited several gas station locations within California in

the middle of the night.

The Rental Vehicle Is Used By STONE and BITARYAN to Smuggle Aliens

On February 20, 2014, the GPS data revealed that the Chrysler minivan housing the
tracking device entered the Mexican border at the San Ysidro Port of Entry at approximately
2147 hours. At approximately 0117 hours (now February 21, 2014), the vehicle re-entered the
United States. After making the listed discovery, I contacted Homeland Security Investigations
(HSI) Special Agent (SA) Clinton Lindsly who is assigned to the HSI office in Los Angeles. As
such, I provided him with the details of my investigation as well as the names of potential
suspects and the vehicle information I was tracking, After researching the re-entry of the
Chrysler Town and Country minivan via its license plate of, 6ZVM415, he discovered that it did
in fact re-enter the country via the San Ysidro Port of Entry on February 21, 2014 at 0118 hours.
At that time, the occupants of the vehicle were identified as Arutyun Bitaryan (ARTUR

BITARYAN’S brother) and MICHAEL LAZARUS STONE, aka Kazaros Bitaryan.

On February 26, 2014, the GPS data revealed again that the Chrysler minivan housing the .

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tracking device entered the Mexican border at the San Ysidro Port of Entry at approximately
2111 hours. After entering the Country of Mexico, the vehicle travelled to the General A.L.
Rodriguez International Airport located in Tijuana where it arrived at 2202 hours. At 0041 hours
(now February 27, 2014) the vehicle left the airport and drove a short distance to the Otay Mesa
Freeway US Port of Entry where it arrived at approximately 0048 hours and re-entered the
United States. Upon re-entry, the data showed that the vehicle traveled N/B on Highway 905, re-
connected with Interstate 805 and proceeded S/B, where at 0100 hours re-entered the Country of
Mexico via the San Ysidro Port of Entry. The vehicle remained in Tijuana Mexico for the

remainder of that day.

I again spoke with SA Lindsly about the listed vehicle’s re-entry on February 27, 2014 at
approximately 0048 hours. After conducting additional research, SA Lindsly discovered that the
vehicle did in fact re-enter the United States at the specified time and at that time its occupants

were identified as ARTUR BITARYAN and Arutyun Bitaryan.

On February 28, 2014 at approximately 0113 hours, I received a telephone call from SA
Lindsly who informed me that the Chrysler Town and Country minivan had just re-entered the
United States and that its occupants (later identified as Arutyun Bitaryan, ARTUR BITARYAN
and Andranik Mirzoyan) were being detained and the vehicle was being secured for a secondary
inspection. During that inspection, SA Lindsly learned (via speaking with agents at the border)
that the van was filled with personal identifying information including passports and birth
certificates, etc. for individuals other than the occupants. There was no explanation as to why

they were in possession of these documents. Meanwhile, at about the same time, there were

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individuals that crossed the border on foot, claiming asylum from Armenia and they had no
documents with them. There were five of them in total and they were all later identified as
Arman Darbinyan (2/12/85), Azniv Manukyan (2/1/86), Ashken Minasyan (2/16/79), Hayk
Petrosyan (10/7/10) and Narek Petrosyan (8/7/04). The information these people provided to the

agents at the border matched the documents that ARTUR BITARYAN, Arutyun Bitaryan and

Andranik Mirzoyan had in their possession, but all of them claimed to not know one another.

A Card Skimmer Was Found Hidden in a Gas Pump
at a Gas Station the Rental Vehicle Visited

On March 10, 2014 at approximately 1700 hours, I visited the Mobil gas station located
at 25357 N. Chiquella Lane in Newhall, CA, which is one of the locations the Chrysler Town
and Country minivan visited on March 6, 2014 (pursuant to the GPS data) and I inspected all of
the gas pumps at the location. In doing so, I located and recovered a skimming device that was

connected to the internal components and card reader inside pump number 6.

The Rental Vehicle Is Filled with Gas Using a Counterfeit Mobil Card

On March 12, 2014, Detective Eric Vitale (San Luis Obispo PD) responded to the Mobil
Gas station located at 1339 Spring St. in Paso Robles, where the Chrysler minivan had visited
earlier that day (per the GPS data). During his investigation there, he watched video that was
captured from an external surveillance camera and confirmed that the Chrysler van arrived at
approximately 1619 hours (based on the time stamp of the camera) and stopped at pump #7.
Further research revealed that an occupant of the van purchased $81.73 worth of gas and used an
Exxon Mobil card bearing the name of “Finnegan and Diba” and having an account number

ending in “6067.” I subsequently watched that footage as well and confirmed to the reported

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observations by Detective Vitale.

I researched “Finnegan and Diba” via law enforcement databases as well as the Internet
and discovered that it was a law firm located at 3660 Wilshire Blvd. in Los Angeles, CA. On
March 13, 2014, I spoke with Robert Aguirre who is an investigator for Citibank, which is the
bank that funds Exxon Mobil accounts. Per my request, he was able to verify that the account in
question did in fact belong to the Finnegan and Diba law firm. In doing so, he personally
contacted the firm and spoke with Kasey Diba (one of the partnered attorney’s at the firm) for a
statement. Diba informed him that the charge in Paso Robles was not made by him or any other
people authorized to use the account. He also verified with Investigator Aguirre that all of the

cards for their account were accounted for.

Fraudulent Purchases Were Made at Several Gas Stations the Rental Vehicle Visited
Based on the above noted information, Investigator Aguirre opened an investigation and
faxed me the account details and recent transactions to the Finnegan and Diba account. While

looking at the account details, I noted the following important information:

On March 6, 2014, a purchase in the amount of $75.85 was placed to the account at the
Mobil Gas station located at 25357 Chiquella Lane in Newhall, CA. This is the same location
that the Chrysler minivan visited on March 6, 2014 (per the GPS data) and is also where I

recovered a skimming device a few days later.

On March 7, 2014, a purchase in the amount of $87.32 was placed to the account at the

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Mobil Gas station located at 14804 Power St. in Lost Hills, CA. Per the GPS tracker data, the

Chrysler minivan visited that location on March 7, 2014 at approximately 1739 hours.

On March 8, 2014, a purchase in the amount of $79.19 was placed to the account at the
Mobil Gas station located at 27705 McBean Parkway in Santa Clarita, CA. Per the GPS tracker
data, the Chrysler minivan visited that location on March 8, 2014 at approximately 1920 hours

and again at 1938 hours.

On March 11, 2014, a purchase in the amount of $75.65 was placed to the account at the
Mobil Gas station located at 5821 Dennis McCarthy Dr. in Lebec, CA. Per the GPS tracker data,

the Chrysler minivan visited that location on March 11, 2014 at approximately 2116 hours.

Search Warrants Reveal Evidence of a Skimming Conspiracy
at the Residences of BITARYAN and STONE

On March 26, 2014, lawfully obtained search warrants were served at 1164 Katherine
RD. in Simi Valley, CA (hereinafter referred to as ARTUR BITARYAN’S residence) and at

13001 Telfair Ave. in Sylmar, CA (hereinafter referred to as MICHAEL STONE’S residence).

ARTUR BITARYAN’S RESIDENCE

During the search of ARTUR BITARYAN’s residence, several noteworthy items were
recovered as evidence. Those items consisted of an MSR609 credit card encoding device that
was found hidden underneath a couch in ARTUR BITARYAN’S bedroom. The device appeared
to have been intentionally concealed as it was found stuffed between the felt cover located at the

bottom of the couch and bottom seat area. $17,000 in United States currency was found hidden

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in the kitchen, a copy of a Highway Patrol citation issued to ARTUR BITARYAN was found in
his bedroom and a bindle of two safe deposit box keys (later verified to belong to ARTUR
BITARYAN’s Chase Bank safe deposit box) were found in his bedroom. 7 computer discs (one
having a label of “firewalls and hacking stuff’) was found inside the residence as well. One of
those discs was later examined and determined to have a total of 923 unique access device
profiles that included account numbers and names of the account holders (for most). One of the
access device profiles found on the disc was matched to an account number that was re-encoded
onto one of the 22 cards found in ARTUR BITARYAN’S possession on the date of his initial

arrest in January of 2015.

Several of these accounts were issued from Federally Insured financial institutions such
as, American Express, Academy Bank National Association, Amarillo National Bank, Arvest
Bank, The Bancorp, Bank of America, Bank of the West, Barclays Bank Delaware, Bofi Federal
Bank, Bokf National Association, Capital One Bank, Charles Schwab Bank, Chase Bank,
Citibank, Citywide Banks, Comerica Bank, Compass Bank, Credit One Bank, Discover Card,
Emprise Bank, First California Bank (now Pacific Western Bank), First Citizens Bank and Trust
Company, First Commercial Bank, First Hawaiian Bank, First National Bank of Omaha, First
Premier Bank, Firstbank, GE Money Bank (now GE Capital Retail Bank), H&R Block Bank,
HSBC Bank, Huntington National Bank, Keybank National Association, Metabank, NBH Bank
National Association, Nordstrom ESB, Regions Bank, Suntrust Bank, TCF National Bank, TD

Bank, US Bank, Vectra Bank Colorado, Wells Fargo Bank and World’s Foremost Bank.

MICHAEL STONE’S RESIDENCE

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During the search of MICHAEL STONE’S residence, numerous items were seized,
which included computers and hard drives, etc. Furthermore, a Zebra card printing machine, four
gift cards (2 Subway cards, a Vanilla Visa Debit gift card and 1 Starbucks card) and a plain

white plastic magnetic strip card were recovered from the residence. These cards were read by

“Agents at the scene by use of portable card readers and were found to have credit card
information stored within their magnetic strips. Also recovered were: a disc for the EXEBA

_ driver software, which I know based on my training and experience is commonly used by

identity thieves to re-write and encode account numbers to counterfeit credit cards; a box of
numerous white / blank magnetic strip cards, a card skimming device (consistent in appearance
with what I believe based on my training and experience as being a eas pump skimming device);
all of the necessary components / items and tools which are consistent with the manufacture of
credit card skimming devices (wires, data cables, data connectors, tubes in various sizes of black
rubber shrink wrap, numerous Bluetooth chipsets, numerous compact flash memory chipsets, a
magnetic strip reader component and various tools, etc.); a gas pump card slot/ reader, two gas

pump overlay pinpads, and two underlay pinpads were found in MICHAEL STONE’S bedroom.

STONE Appears to Have Tested His Counterfeiting Equipment Using
His Own Accounts and Those of His Friends and Family

Forensic examinations of the computers and hard drives taken from MICHAEL
STONE’S bedroom were later conducted and the following items of significance were

discovered:

A file containing track data for a few credit card accounts. These accounts belonged to

Sarkis Bitaryan, Eleonora Chepshyan, Kazaros Bitaryan (aka MICHAEL STONE) and Michael

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Casey. This file also contained a “TESTING” portion, which appeared to have questions
regarding the process in which these accounts were duplicated. The following is a transcript of

that file dialog,

“TESTING

Card one: putting the month as the number after the 10.

B4147202018004323“BITARYAN/KAZAROS “%0812101200000000000000395000000

4147202018004323=08 1210120000395

Card two: putting 10 as the number after the 10.
B4147202018004323“BITARYAN/KAZAROS “0812101000000000000000395000000

4147202018004323=08 1210120000395

Card three: spacing before the name, does is matter?
B4147202018004323“°BITARYAN/ KAZAROS “0812101100000000000000395000000

4147202018004323=08 1210110000395
Card four: can you add padding to a card that had less than usual?
B5401683035675005*CASEY/MICHAEL “09121012000000349000000

5401683035675005=09 1210120000349

Card five: when 5 zeros are added to the end of the second track does it work?

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B4147202018004323°BITARYAN/KAZAROS 0812101 100000000000000395000000

4147202018004323=08121011000039500000

Card six: when 8,2 zeros are added before the three digits does it work?
B4147202018004323“BITARYAN/KAZAROS
*0812101100000000000000000000000395000000
4147202018004323=081210110000395”

‘The Files in STONE’s Residence Contained the Same Account Numbers that
Had Been Re-Encoded onto Access Devices BITARYAN Was Caught With

The forensic analysis also revealed files containing a large amount of track data (access
devices) with credit card account numbers and account holder names. Among these profiles
(access devices) were the account numbers found encoded on the two previously mentioned
Subway Gift Cards recovered from MICHAEL STONE’S residence on March 26, 2014 and five
of the account numbers found re-encoded amongst the 22 cards ARTUR BITARYAN had in his
possession during his January 4, 2014 arrest. There were over 1,600 unique access devices
(credit card profiles) found within these files. Of those profiles, a large number of them belonged
to Federally Insured financial institutions, such as but not limited to, Discover Card, The
Bankcorp, Regions Bank, USAA Savings Bank, The Fifth Third Bank, Barclays Bank, Citibank,
US Bank, Bank of the West, Chase Bank, Capital One, Wells Fargo Bank, Compass Bank,

American Express and Bank of America, etc.

There were also files recovered that pertained to (copies of) insurance statements
belonging to MICHAEL STONE and Eleonora Chepshyan, literature for a program known as

“Stripe Snoop,” which is a magstripes reader program that is designed to decode magnetic stripes

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on cards, files pertaining to the manufacture of fake IDs (such as the “The Ultimate Fake ID
Guide 2009 V5”) and literature on what supplies would be needed, etc. as well as directions on
the various methods of manufacture (inkjet printing, Adobe photoshopping, creating barcodes
and more), a bootable file titled, “FBI Forensic Field Kit,” several “SANS Security” files
pertaining to hacker techniques, exploits and incident handling and a file on the basics of
hacking, penetration and testing. There were also directions on how to get an anonymous
offshore email account and how to sell IDs anonymously as well as “Minil23” and “MSR606”
program files, which are magnetic card reader and writer type programs commonly used by fraud

suspects.

I have since contacted a few of the account holders as well as a few bank investigators
with the financial institutions related to the accounts (access devices) found on the computers
recovered from MICHAEL STONE’S bedroom and have verified that he was unlawfully in

possession of these profiles.

The Fraud Extends to Colorado When the Rental Vehicle Was There
On January 21, 2015, I sent Chase Card Investigator, Robby Perry, the list of profiles
(both credit card and debit card numbers) that were found on MICHAEL STONE’S computers.
On January 23, 2015, I received an emailed response from him, which had an attached
spreadsheet outlining some of the identified accounts. Upon further review into Investigator
Perry’s spreadsheet, I noted that on March 23, 2014, there were a total of 8 fraudulent charges
made to various accounts in the cities of Glenwood Springs, Lakewood, Littleton and

Westminster Colorado. As mentioned earlier in this investigation, the Chrysler Town and

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Country minivan, which previously had a GPS tracking device attached to it revealed the van _
visited the State of Colorado between March 20, 2014 and March 24, 2014. Based on the GPS
data, the vehicle either passed through or stopped within each of these areas during the course of
the trip. For example, on March 23, 2014 at 1105 hours (PST), the vehicle stopped near the
Nordstrom Rack store located at 393 S. Vance St. in Lakewood, CO for approximately 36
minutes. One of the fraudulent charges on that date was made at a Nordstrom Rack store (store
number #0110) located in Lakewood, CO. The transaction time, which is listed in “EST” was
documented at 1438 hours. I have since researched the Nordstrom Rack website and discovered
that this store is the only one located in Lakewood, CO. Although the actual perpetrator was
never identified, the activity is consistent with what has been seen during the course of this
investigation. Another example is shown with regard to two more fraudulent charges that were
made at a Wholefoods Grocery Store in Westminster, CO and at a Ross Store in Westminster,
CO on that date. The charge at the Wholefoods Grocery store was made at 1747 hours, EST and
the charge at the Ross Store was made at 1732 hours, EST. After doing an Internet query on both
locations, I learned that the Ross Store in Westminster, CO is presently located at 9250 Sheridan
Blvd. and one of the Wholefoods Grocery Stores in Westminster, CO is located at 9229 Sheridan
Blvd. Per the tracker data, the vehicle was in the area of those two stores on that date between

1407 hours and 1451 hours (PST) respectively.

MICHAEL STONE’S STATEMENT
During the course of the search warrant service United States Secret Service Special
Agent, Steve Scarince and I sat with Michael STONE in the backyard area of the residence. At

that time, he was not handcuffed or restrained in any way. Before any questioning began, I

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informed him that he was not under arrest and was free to leave at any time, which he agreed he
understood.
STONE Admits the Bedroom Containing the Electronics Is His

I described the room that had all of the computer and electronics items in it (referring to
the northernmost west bedroom), which STONE admitted was his bedroom. Later, he also
acknowledged that Artur (BITARYAN) was his cousin. I explained that there had been some
items found in the room such as computer components and electronics as well as a credit card
printer (referring to the Zebra printer). He quickly corrected me and said that the printer was a
“card” printer. He elaborated that he started a business “ta while back” where he made novelty
ID’s such as badges with jokes, etc. I asked him how much he paid for the printer and he could

not remember. Later in the interview, he corrected me and verified that the printer had actually

- been recovered from a storage area (on the back patio). I was not present when it was recovered

by another officer assisting with the search warrant thus I had originally believed it was found in
his room. He was however correct.
STONE Vacillates on Whether He Made Skimming Devices

At one point, STONE touched upon the possibility of STONE having made “something”
for “somebody” in the past. This conversation was between STONE and Agent Scarince; I was
not present. After resuming the recorded interview, Agent Scarince re-visited the conversation
and said the following to STONE, “you made reference to the fact that maybe you made
something for somebody and that they used it maybe for some type of illegal purpose.” Towards
the end of Agent Scarince’s statement, STONE interrupted him and stated, “I’ve made lots of
stuff... No, I don’t know, I’m just saying because the thing you showed me, it doesn’t take a

genius, I’m starting to put things together, J don’t wanna, and that’s why I don’t really wanna say

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anything cause I don’t wanna accidentally, you know... entrap myself in any way.”

At one point, I briefly got some items recovered from STONE’s room, which included a
complete skimming device. I showed him this device (which I believed was a gas pump
skimming device) and asked him if it was an example of what he has made for people. He said,
“If people order something, then, you know... I make it.” Upon giving the device a closer look,
he said that it “might” have been in a box that he bought, meaning a box of miscellaneous
electronics he might have purchased at a swap meet. Agent Scarince told STONE that the item
itself was not illegal, but it was what it gets used for that could be. Agent Scarince continued
with, “If you’re making it, there’s nothing wrong with making this...” STONE interrupted and
asked, “So why are, so why are you, then why do you want me to..?” Agent Scarince replied
with, “Because it’s what the end use is.” STONE then said, “Then, I don’t, I don’t know what
that is.” Agent Scarince asked him that if he was manufacturing “this” (referring to the device),
was it something he was making for Artur (BITARYAN). STONE replied, “No.” I then asked
who he made it for and he said, “I haven’t made that.” I asked who made it then, because it had
been found in his room. He said he didn’t know and that it was probably in a box that he got. He

then proclaimed that we were making it very difficult for him but he wanted to cooperate.

BITARYAN Serves 5 Days in Jail After Pleading Guilty to
Using the Fraud Card on the Day of His Arrest

On January 4, 2014, ARTUR BITARYAN was arrested by the Simi Valley Police
Department (details previously stated) for Identity Theft pursuant to Penal Code section 530.5
and Commercial Burglary pursuant to Penal Code section 459 regarding this matter, The
complaint was filed on January 7, 2014 by the Ventura County District Attorney’s Office and

later that day ARTUR BITARYAN, during his arraignment, entered a plea of NOT GUILTY as

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to all counts. On June 11, 2014, ARTUR BITARYAN withdrew his initial plea of NOT
GUILTY in Ventura County Superior Court, courtroom 12 and pleaded guilty to counts 1 and 2
(one count of 530.5 PC — Identity Theft and one count of 459 PC - Burglary). Per the courtroom
docket, BITARYAN expressly, knowingly and intelligently waived and gave up his rights during
his change of plea. The sentencing pursuant to this matter was later held in the same courtroom
on. August 13, 2014. At this hearing, BITARYAN was ordered to serve 180 days in jail.

Electronic monitoring however, was Okayed by the court with approval of the Sheriff. Since that

time, BITARYAN has only served a total of 5 days in jail, which includes the 4 days he served

upon his initial arrest between January 4, 2014 and January 8, 2014. The fifth day of credit was
served on September 10, 2014 between 0714 hours and 0725 hours (about 10 minutes). ARTUR
BITARYAN is presently out of custody and is on probation with a search condition.
CONCLUSION
Based on the above facts, I submit that there is probable cause to believe that ARTUR
BITARYAN and MICHAEL STONE have committed violations of Title 18, United States Code,

Section 1349 and 1028A, conspiracy to commit bank fraud and aggravated identity theft.

/s [

Stephen Collett
Detective, Simi Valley Police Department

Subscribed and sworn before me
Th

this (2 day of March 2015.

JACQUELINE CHOOLJIAN

UNITED STATES MAGISTRATE JUDGE

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